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                                                       [Dkt. Nos. 36, 39]

                 IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF NEW JERSEY
                            CAMDEN VICINAGE


MAURICE COLLINS,
                                         Civil No. 17-5345 (RMB/JS)
      Plaintiff,
                                                      ORDER
            v.

NATIONAL STUDENT LOAN PROGRAM,

       Defendant.




     This matter comes before the Court upon cross-motions for

summary judgment, filed by Plaintiff Maurice Collins

(“Plaintiff”)[Dkt. No. 36] and Defendant National Student Loan

Program (“Defendant” or “NSLP”)[Dkt. No. 39].

     For the reasons set forth in the accompanying Opinion of

the same date,

     IT IS on this, the 20th day of December 2018, hereby

     ORDERED that Plaintiff’s Motion for Summary Judgment [Dkt.

No. 36] is DENIED; and it is further

     ORDERED that Defendant’s Motion for Summary Judgment [Dkt.

No. 39] is GRANTED; and it is further

     ORDERED that the Clerk of the Court shall close this case.


                                   s/Renée Marie Bumb
                                   RENÉE MARIE BUMB
                                   UNITED STATES DISTRICT JUDGE
